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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


  WOLVERINE WORLD WIDE, INC.,

        Plaintiff,
                                                     Case No. 1:19-cv-10
  v.
                                                     Hon. Hala Y. Jarbou
  THE AMERICAN INSURANCE
  COMPANY, et al.,

        Defendants.
  ____________________________/

                                          JUDGMENT

        In accordance with the order issued this date:

        IT IS ORDERED that this case is DISMISSED.



  Dated: September 24, 2024                       /s/ Hala Y. Jarbou
                                                  HALA Y. JARBOU
                                                  CHIEF UNITED STATES DISTRICT JUDGE
